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                                       February 18, 2019

VIA CM/ECF

 The Honorable Cathy L. Waldor
 United States District Judge for the District of New Jersey
 Martin Luther King Building & U.S. Courthouse
 50 Walnut Street
 Newark, NJ 07101

       Re:     Gorbaty v. Mitchell Hamline School of Law
               Court File No. 2:18-cv-16691-ES-CLW

Dear Magistrate Judge Waldor:

        Pursuant to the District’s Local Rules, as well as the Court’s Civil Case Management
Order, I am writing to request a telephone conference to discuss Defendant Mitchell Hamline
School of Law’s request that the Court stay discovery in the above-referenced proceeding pending
resolution of the school’s motion to dismiss.

       While Mitchell Hamline will present its rationale on a telephone conference with the Court,
the school’s request is made in part because of the events that occurred at the recent settlement
conference. What is more, a discovery stay will allow both parties to preserve resources pending
a dispositive motion. Without such a stay, the parties may spend significant resources on drafting
and responding to written discovery, arguing motions relating to the scope of discovery, and
preparing for and taking depositions, all before it is decided whether the Court has jurisdiction
over Mitchell Hamline and, if so, whether Plaintiff has asserted claims upon which relief can be
granted.

       We have conferred with Plaintiff’s counsel, Chris Luongo, regarding this request. Mr.
Luongo will not be joining the Mitchell Hamline’s motion to stay discovery. He advised that he
has not yet spoken with his client about it and, therefore, has not yet determined whether he will
oppose the motion.

                                                     Respectfully submitted,

                                                     s/ Suzanne Herrmann Brock
                                                     Suzanne Herrmann Brock
cc:    All Counsel of Record (via ECF)
